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             United States Court of Appeals
                             For the First Circuit


 No. 25-1236

  STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF ILLINOIS; STATE
        OF RHODE ISLAND; STATE OF NEW JERSEY; COMMONWEALTH OF
     MASSACHUSETTS; STATE OF ARIZONA; STATE OF COLORADO; STATE OF
   CONNECTICUT; STATE OF DELAWARE; THE DISTRICT OF COLUMBIA; STATE
   OF HAWAI'I; OFFICE OF THE GOVERNOR ex rel. Andy Beshear, in his
   official capacity as Governor of the COMMONWEALTH OF KENTUCKY;
   STATE OF MAINE; STATE OF MARYLAND; STATE OF MICHIGAN; STATE OF
   MINNESOTA; STATE OF NEVADA; STATE OF NEW MEXICO; STATE OF NORTH
        CAROLINA; STATE OF OREGON; STATE OF VERMONT; STATE OF
                 WASHINGTON; and STATE OF WISCONSIN,

                             Plaintiffs, Appellees,

                                      v.

       DONALD TRUMP, in his official capacity as President of the
     United States; U.S. OFFICE OF MANAGEMENT AND BUDGET; RUSSELL
   VOUGHT, in his official capacity as Director of the U.S. Office
  of Management and Budget; U.S. DEPARTMENT OF THE TREASURY; SCOTT
   BESSENT, in his official capacity as Secretary of the Treasury;
   PATRICIA COLLINS, in her official capacity as Treasurer of the
     United States; U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES;
  ROBERT F. KENNEDY, JR., in his official capacity as Secretary of
   Health and Human Services; U.S. DEPARTMENT OF EDUCATION; LINDA
     MCMAHON, in her official capacity as Secretary of Education;
   U.S. DEPARTMENT OF TRANSPORTATION; SEAN DUFFY, in his official
      capacity as Secretary of Transportation; U.S. DEPARTMENT OF
        LABOR; LORI CHAVEZ-DEREMER, in her official capacity as
      Secretary of Labor*; U.S. DEPARTMENT OF ENERGY; CHRISTOPHER
    WRIGHT, in his official capacity as Secretary of Energy; U.S.
     ENVIRONMENTAL PROTECTION AGENCY; LEE ZELDIN, in his official
   capacity as Administrator of the U.S. Environmental Protection
   Agency; U.S. DEPARTMENT OF THE INTERIOR; DOUGLAS BURGUM, in his
   official capacity as Secretary of the Interior; U.S. DEPARTMENT

       *Pursuant to Federal Rule of Appellate Procedure 43(c)(2),
 Secretary   of  Labor   Lori  Chavez-DeRemer   is  automatically
 substituted for former Acting Secretary of Labor Vince Micone as
 Respondent.
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   OF HOMELAND SECURITY; KRISTI NOEM, in her official capacity as
      Secretary of Homeland Security; U.S. DEPARTMENT OF JUSTICE;
   PAMELA BONDI, in her official capacity as Attorney General; THE
  NATIONAL SCIENCE FOUNDATION; DR. SETHURAMAN PANCHANATHAN, in his
          official capacity as Director of the National Science
   Foundation; U.S. DEPARTMENT OF AGRICULTURE; BROOKE ROLLINS, in
        her official capacity as Secretary of Agriculture; U.S.
   DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT; ERIC SCOTT TURNER,
       in his official capacity as Secretary of Housing and Urban
         Development; U.S. DEPARTMENT OF STATE; U.S. AGENCY FOR
        INTERNATIONAL DEVELOPMENT; MARCO RUBIO, in his official
  capacities as Secretary of State and Acting Administrator of the
    U.S. Agency for International Development; U.S. DEPARTMENT OF
  DEFENSE; PETER HEGSETH, in his official capacity as Secretary of
   Defense; U.S. DEPARTMENT OF VETERANS AFFAIRS; DOUG COLLINS, in
     his official capacity as Secretary of Veterans Affairs; U.S.
  DEPARTMENT OF COMMERCE; HOWARD LUTNICK, in his official capacity
        as Secretary of Commerce; NATIONAL AERONAUTICS AND SPACE
   ADMINISTRATION; JANET PETRO in her official capacity as Acting
   Administrator of National Aeronautics and Space Administration;
        CORPORATION FOR NATIONAL AND COMMUNITY SERVICE; JENNIFER
   BASTRESS TAHMASEBI, in her official capacity as Interim Head of
   the Corporation for National and Community Service; U.S. SOCIAL
   SECURITY ADMINISTRATION; LELAND DUDEK, in his official capacity
   as Acting Commissioner of U.S. Social Security Administration;
       U.S. SMALL BUSINESS ADMINISTRATION; KELLY LOEFFLER, in her
       official capacity as Administrator of U.S. Small Business
    Administration; U.S. FEDERAL EMERGENCY MANAGEMENT AGENCY; and
           CAMERON HAMILTON, in his official capacity as Acting
 Administrator of the U.S. Federal Emergency Management Agency,

                             Defendants, Appellants.


             APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF RHODE ISLAND

          [Hon. John J. McConnell, Jr., U.S. District Judge]


                                     Before

                          Barron, Chief Judge,
                Montecalvo and Rikelman, Circuit Judges.


       Yaakov M. Roth, Acting Assistant Attorney General, Sara Miron
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 Bloom, Acting United States Attorney, Eric D. McArthur, Deputy
 Assistant Attorney General, Daniel Tenny, Sean R. Janda, Brian J.
 Springer, Attorneys, Appellate Staff Civil Division, U.S.
 Department of Justice, on brief for appellants.
      Russell Coleman, Attorney General, and Matthew F. Kuhn,
 Solicitor General, on brief for Commonwealth of Kentucky, amicus
 curiae.
      Nathan J. Moelker and Olivia F. Summers, on brief for American
 Center for Law and Justice, amicus curiae.
      Letitia James, Attorney General of New York, Barbara D.
 Underwood, Solicitor General, Judith N. Vale, Deputy Solicitor
 General, Mark S. Grube, Senior Assistant Solicitor General, Rabia
 Muqaddam, Special Counsel for Federal Initiatives, Michael J.
 Myers, Senior Counsel, Molly Thomas-Jensen, Special Counsel,
 Colleen Faherty, Special Trial Counsel, Zoe Levine, Special
 Counsel for Immigrant Justice, Rob Bonta, Attorney General of
 California, Laura L. Faer, Christine Chuang, Supervising Deputy
 Attorneys General, Joshua Patashnik, Deputy Solicitor General,
 Nicholas Green, Carly Munson, Kenneth Sugarman, Marie Logan,
 Theodore McCombs, Deputy Attorneys General, Kwame Raoul, Attorney
 General of Illinois, Jane Elinor Notz, Solicitor General, Alex
 Hemmer, Deputy Solicitor General, Peter F. Neronha, Attorney
 General of Rhode Island, Kathryn M. Sabatini, Civil Division Chief,
 Special Assistant Attorney General, Sarah W. Rice, Deputy Chief,
 Public Protection Bureau, Assistant Attorney General, Leonard
 Giarrano IV, Special Assistant Attorney General, Matthew J.
 Platkin, Attorney General of New Jersey, Jeremy M. Feigenbaum,
 Solicitor General, Andrea Joy Campbell, Attorney General of
 Massachusetts, Katherine B. Dirks, Deputy Chief, Government
 Bureau, Turner Smith, Deputy Chief, Energy and Environment Bureau,
 David C. Kravitz, State Solicitor, Anna Lumelsky, Deputy State
 Solicitor, Kristen K. Mayes, Attorney General of Arizona, Joshua
 D. Bendor, Solicitor General, Philip J. Weiser, Attorney General
 of Colorado, Shannon Stevenson, Solicitor General, William Tong,
 Attorney General of Connecticut, Michael K. Skold, Solicitor
 General, Kathleen Jennings, Attorney General of Delaware, Vanessa
 L. Kassab, Deputy Attorney General, Brian L. Schwalb, Attorney
 General of the District of Columbia, Andrew Mendrala, Assistant
 Attorney General, Public Advocacy Division, Anne E. Lopez,
 Attorney General of Hawai'i, David D. Day, Special Assistant to
 the Attorney General, Kaliko'onālani D. Fernandes, Solicitor
 General, Andy Beshear, Governor of Kentucky, S. Travis Mayo,
 General Counsel, Taylor Payne, Chief Deputy General Counsel, Laura
 C. Tipton, Deputy General Counsel, Aaron M. Frey, Attorney General
 of Maine, Jason Anton, Assistant Attorney General, Anthony G.
 Brown, Attorney General of Maryland, Adam D. Kirschner, Senior
 Assistant Attorney General, Dana Nessel, Attorney General of
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 Michigan, Linus Banghart-Linn,       Chief Legal Counsel,      Neil
 Giovanatti, Assistant Attorney General, Keith Ellison, Attorney
 General of Minnesota, Liz Kramer, Solicitor General, Aaron D. Ford,
 Attorney General of Nevada, Heidi Parry Stern, Solicitor General,
 Raúl Torrez, Attorney General of New Mexico, Anjana Samant, Deputy
 Counsel, Jeff Jackson, Attorney General of North Carolina, Daniel
 P. Mosteller, Associate Deputy Attorney General, Dan Rayfield,
 Attorney General of Oregon, Christina Beatty-Walters, Senior
 Assistant Attorney General, Charity R. Clark, Attorney General of
 Vermont, Jonathan T. Rose, Solicitor General, Nicholas W. Brown,
 Attorney General of Washington, Andrew Hughes, Assistant Attorney
 General, Leah Brown, Assistant Attorney General, Joshua L. Kaul,
 Attorney General of Wisconsin, and Aaron J. Bibb, Assistant
 Attorney General, on brief for appellees.
      Elizabeth B. Wydra, Brianne J. Gorod, Miriam Becker-Cohen,
 and Nina G. Henry, on brief for Constitutional Accountability
 Center, amicus curiae.


                               March 26, 2025
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             BARRON, Chief Judge.           The heads of various federal

 agencies as well as the agencies themselves -- collectively, the

 Agency Defendants1 -- move for a stay pending appeal.                They seek

 to block temporarily a preliminary injunction that the United

 States District Court for the District of Rhode Island issued

 against them on March 6, 2025.2            The Plaintiffs are twenty-two

 states, including Rhode Island, as well as the District of Columbia

 and the Governor of Kentucky ("Plaintiff-States").

             The suit challenges the Office of Management and Budget

 ("OMB") Memorandum M-25-13 ("OMB Directive"), issued on January

 27, 2025.     It also challenges alleged funding freezes under the

 OMB Directive and Executive Orders that the President issued in

 his first week in office to which the OMB Directive referred.

             The Plaintiff-States filed their initial complaint on

 January 28, 2025.     The next day, OMB rescinded the OMB Directive.

 The operative complaint alleges that the funding freezes took place

 prior to that rescission and continued thereafter.



       1The Appellants before us -- and thus those bringing the stay
 motion at issue -- also include the President, who is named as a
 defendant in this suit, but to whom the preliminary injunction
 does not apply.    We thus use the term Agency Defendants except
 where we mean to refer to all Defendants, the President included,
 in which case we use the term Defendants.
       2In our discretion, we have accepted the proposed amicus
 briefs. We have considered them only insofar as they concern legal
 issues and positions raised by the parties.      See Ryan v. U.S.
 Immigr. & Customs Enf't, 974 F.3d 9, 33 n.10 (1st Cir. 2020).


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             The preliminary injunction, among other things, bars the

 Agency Defendants from:

             reissuing, adopting, implementing, giving
             effect to, or reinstating under a different
             name the directives in [the OMB Directive]
             with   respect   to   the   disbursement   and
             transmission of appropriated federal funds to
             the States under awarded grants, executed
             contracts,   or   other   executed   financial
             obligations.[3]

             It further prohibits the Agency Defendants from:

             pausing,   freezing,    blocking,    canceling,
             suspending,     terminating,     or   otherwise
             impeding the disbursement of appropriated
             federal funds to the States under awarded
             grants, executed contracts, or other executed
             financial obligations based on the OMB
             Directive,    including      funding    freezes
             dictated, described, or implied by Executive
             Orders   issued    by  the   President   before
             rescission of the OMB Directive or any other
             materially    similar     order,    memorandum,
             directive, policy, or practice under which the
             federal government imposes or applies a
             categorical pause or freeze of funding

       3An "obligation" is defined in federal appropriations law as
 "a definite commitment which creates a legal liability of the
 Government for the payment of appropriated funds for goods and
 services ordered or received." 2 U.S. Gov't Accountability Off.,
 Principles of Federal Appropriations Law, at 7-3 (3d ed. 2006)
 (citations omitted) [hereinafter GAO Redbook]. Obligated federal
 funds may be payable immediately or at a later point, and the "fact
 that an unmatured liability may be subject to a right of
 cancellation does not negate the obligation." Id. at 7-4 to -5.
 Funds available under awarded grants, executed contracts, or other
 executed financial obligations are obligated federal funds. See
 31 U.S.C. § 1501(a)(1), (5) (including, within the scope of the
 obligation-reporting requirement, funds payable under grant
 awards, whether fixed by law or under an agreement, and other
 binding agreements); see also GAO Redbook at 7-40 to -42
 (explaining that a grant becomes obligated once it is awarded and
 its terms are communicated to the grantee).


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             appropriated by Congress. This includes, but
             is by no means [] limited to, Section 7(a) of
             Executive Order 14154, Unleashing American
             Energy.[4]

             In addition, the preliminary injunction requires the

 Agency    Defendants   to   provide   written   notice      "to   all   federal

 departments and agencies to which the OMB Directive was addressed"

 that shall:

             [(1)] instruct [them] that they may not take
             any steps to implement, give effect to, or
             reinstate under a different name or through
             other means the directives in the OMB
             Directive with respect to the disbursement or
             transmission of appropriated federal funds to
             the States under awarded grants, executed
             contracts,   or  other   executed   financial
             obligations[;] [and] [(2)] instruct [them] to
             release and transmit any disbursements to the
             States on awarded grants, executed contracts,
             or other executed financial obligations that
             were paused on the grounds of the OMB
             Directive and Executive Orders included by
             reference therein or issued before the
             rescission of the OMB Directive.

             The stay motion is denied.




       4The preliminary injunction states that it is "by no means
 not limited to, Section 7(a) of Executive Order 14154, Unleashing
 American Energy." We understand the inclusion of "not" to be a
 typographical error, and neither party contends otherwise.


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                                         I.

             This case already has an unusually involved procedural

 history.     A detailed review of that history is necessary to set

 the stage for the substantive analysis that follows.

                                         A.

             On January 27, 2025, Matthew Vaeth, Acting Director of

 OMB, issued the OMB Directive, which is titled "Temporary Pause of

 Agency Grant, Loan, and Other Financial Assistance Programs," to

 all heads of executive departments and agencies. The OMB Directive

 stated that it "requires Federal agencies to identify and review

 all    Federal     financial     assistance       programs      and     supporting

 activities       consistent     with    the     President's        policies     and

 requirements,"      (footnotes     omitted),       and    it    noted   both    the

 definition of "financial assistance" set forth in 2 C.F.R. § 200.1

 and that "[n]othing in this memo should be construed to impact

 Medicare or Social Security benefits."

             The    OMB   Directive     identified     a   series   of    Executive

 Orders the President issued in his first week in office.                   It then

 provided that, "[t]o implement these orders, each agency must

 complete a comprehensive analysis of all of their Federal financial

 assistance programs to identify programs, projects, and activities

 that may be implicated by any of the President's executive orders."

 It further provided that:




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             [i]n the interim, to the extent permissible
             under applicable law, Federal agencies must
             temporarily pause all activities related to
             obligation or disbursement of all Federal
             financial assistance, and other relevant
             agency activities that may be implicated by
             the executive orders, including, but not
             limited to, financial assistance for foreign
             aid, nongovernmental organizations, DEI, woke
             gender ideology, and the green new deal.

             The OMB Directive explained that "[t]his temporary pause

 will provide the Administration time to review agency programs and

 determine    the    best    uses   of    the    funding    for    those   programs

 consistent with the law and the President's priorities."                          It

 further stated that "[t]he temporary pause will become effective"

 the next day -- January 28 -- at 5:00 PM and that "[e]ven before

 completing their comprehensive analysis, Federal agencies must

 immediately identify any legally mandated actions or deadlines for

 assistance programs arising while the pause remains in effect" and

 "report this information to OMB along with an analysis of the

 requirement."

             The OMB Directive went on to provide that: "[n]o later

 than February 10, 2025, agencies shall submit to OMB detailed

 information on any programs, projects or activities subject to

 this pause."       It added that:

             [e]ach agency must pause: (i) issuance of new
             awards; (ii) disbursement of Federal funds
             under all open awards; and (iii) other
             relevant agency actions that may be implicated
             by the executive orders, to the extent
             permissible by law, until OMB has reviewed and


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              provided guidance to your agency with respect
              to the information submitted.

 It provided as well that "OMB may grant exceptions allowing Federal

 agencies     to   issue   new   awards   or     take    other     actions    on   a

 case-by-case basis."

              The OMB Directive explicitly identified the following

 Executive Orders: Protecting the American People Against Invasion,

 Exec.   Order     No. 14,159,   90   Fed.     Reg.    8443   (Jan.    20,    2025);

 Reevaluating and Realigning United States Foreign Aid, Exec. Order

 No. 14,169, 90 Fed. Reg. 8619 (Jan. 20, 2025); Putting America

 First   in   International      Environmental        Agreements,     Exec.   Order

 No. 14,162, 90 Fed. Reg. 8455 (Jan. 20, 2025); Unleashing American

 Energy, Exec. Order No. 14,154, 90 Fed. Reg. 8353 (Jan. 20, 2025)

 [hereinafter      Unleashing     EO];    Ending        Radical     and   Wasteful

 Government DEI Programs and Preferencing, Exec. Order No. 14,151,

 90 Fed. Reg. 8339 (Jan. 20, 2025); Defending Women from Gender

 Ideology Extremism and Restoring Biological Truth to the Federal

 Government, Exec. Order No. 14,168, 90 Fed. Reg. 8615 (Jan. 20,

 2025); and Enforcing the Hyde Amendment, Exec. Order No. 14,182,

 90 Fed. Reg. 8751 (Jan. 24, 2025).                   The "Unleashing American

 Energy" Executive Order ("Unleashing EO") is particularly relevant

 for reasons that will become clear below.




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            The   Unleashing    EO   provides   in   Section 2   a   list   of

 "polic[ies]" that it states are "the policy of the United States."

 It further provides in Section 7(a):

            All agencies shall immediately pause the
            disbursement of funds appropriated through the
            Inflation Reduction Act of 2022 (Public Law
            117–169) or the Infrastructure Investment and
            Jobs Act (Public Law 117–58) . . . and shall
            review their processes, policies, and programs
            for issuing grants, loans, contracts, or any
            other   financial   disbursements    of   such
            appropriated funds for consistency with the
            law and the policy outlined in section 2 of
            this order. . . . No funds identified in this
            subsection . . . shall be disbursed by a given
            agency until the Director of OMB and Assistant
            to the President for Economic Policy have
            determined   that   such   disbursements   are
            consistent with any review recommendations
            they have chosen to adopt.

 Unleashing EO, 90 Fed. Reg. 8357.

            OMB issued guidance concerning the Unleashing EO on

 January 21, 2025 ("Unleashing Guidance").            The guidance states

 that "[t]his pause only applies to funds supporting programs,

 projects, or activities that may be implicated by the policy

 established in Section 2 of the order."         It further provides that

 "[a]gency heads may disburse funds as they deem necessary after

 consulting with the Office of Management and Budget."           Id.

            On January 28, OMB also issued a separate document about

 the scope of the OMB Directive ("OMB Q&A").           The document stated

 in bold type: "Any program not implicated by the President's

 Executive Orders is not subject to the pause," and then listed the


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 seven Executive Orders discussed above.               It explained that "the

 pause does not apply across-the-board.            It is expressly limited to

 programs, projects, and activities implicated by the President’s

 Executive Orders, such as ending DEI, the green new deal, and

 funding nongovernmental organizations that undermine the national

 interest."      Additionally, however, OMB circulated a document to

 federal agencies entitled "Instructions for Federal Financial

 Assistance      Program      Analysis    in    Support    of    M-25-13"     ("OMB

 Spreadsheet").      It "required" "[a]ll Federal agencies that provide

 Federal    financial      assistance . . . to       complete      the   attached

 spreadsheet and submit it to OMB" by February 7, 2025.                         The

 spreadsheet listed over 2,500 federal funding lines, including for

 programs that the OMB Q&A explicitly stated were excluded from the

 pause, the Head Start program being one example.

                                         B.

             The Plaintiff-States filed their suit in the District of

 Rhode    Island    on   January   28,    2025,   naming    as   defendants     the

 President, the OMB and its head, and eleven separate agencies and

 their heads.       The complaint alleged that the OMB Directive, which

 the complaint asserted was "set to take effect at [5:00 PM] today

 but     [was]     actually    being     implemented      even    earlier,"     was

 unconstitutional on various grounds.             The complaint also alleged

 that the OMB Directive violated the Administrative Procedure Act

 ("APA"), 5 U.S.C. § 701 et seq., because it constituted "final


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 agency action" that was "contrary to law" and "arbitrary and

 capricious." As to the action being contrary to law, the complaint

 alleged, among other things, that the "Defendants have no authority

 to impose a government-wide pause on federal awards without regard

 to the individual authorizing statutes, regulations, and terms

 that   govern   each    funding   stream."     As     to    the      action   being

 "arbitrary and capricious," the complaint alleged, also among

 other things, that "the OMB Directive provides no reasoned basis

 for pausing the disbursement and obligation of trillions of federal

 dollars and fails to consider the consequences of that action."

            To support their claims, the Plaintiff-States alleged

 that they receive significant amounts of federal funds to provide

 essential services to their residents.         They further alleged that

 the Agency Defendants' implementation of the OMB Directive, by

 resulting in the withholding of these funds and providing them

 with less than twenty-four         hours'    notice    of doing so, would

 interfere with their ability to provide such services.                         They

 alleged, too, that the tight time frame for the OMB Directive's

 implementation    and    the   last-minute    notice       of   it    "compounded

 the[ir] injuries" because they could neither "prepare for or

 mitigate" the fiscal impact nor effectively plan for any future or

 downstream fiscal effects.

            The Plaintiff-States sought a declaratory judgment and

 an injunction, as well as to vacate the OMB Directive under § 706


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 of the APA.      See 5 U.S.C. § 706.        They also moved for a temporary

 restraining      order    ("TRO")    to   "restrain       the   Defendants    from

 enforcing the OMB Directive's directive to 'pause all activities

 related to obligation or disbursement of all Federal financial

 assistance.'"

               The same day the Plaintiff-States filed their complaint,

 the U.S. District Court for the District of Columbia issued an

 administrative stay of the OMB Directive pending that court's

 hearing on a separate request for a temporary restraining order.

 See   Nat'l    Council    of   Nonprofits     v.   Off.   of    Mgmt.   &   Budget,

 No. 1:25-cv-00239, 2025 WL 314433, at *1 (D.D.C. Jan. 28, 2025).

 In that case, non-profit organizations brought their own suit

 challenging the OMB Directive.5           See id.

               On January 29, 2025, prior to the scheduled 3:00 PM

 hearing on the Plaintiff-States' TRO motion in the District of

 Rhode Island, the Defendants filed a notice with the District

 Court.    The notice stated that OMB had rescinded the OMB Directive

 and that the Plaintiff-States' claims and request for injunctive

 relief were moot.        The Defendants nevertheless indicated that they

 would appear at the 3:00 PM hearing.           The District Court proceeded




       5 The district court subsequently issued a preliminary
 injunction in that case. See Nat'l Council of Nonprofits v. Off.
 of Mgmt. & Budget, No. 1:25-cv-00239, 2025 WL 597959, at *19-20
 (D.D.C. Feb. 25, 2025).


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 with the hearing and, on January 31, 2025, granted a TRO as to the

 Agency Defendants.

              With respect to whether the OMB Directive's rescission

 mooted the case, the District Court determined that the rescission

 of the OMB Directive was in name only, relying in part on a

 statement that the White House Press Secretary made on the social

 media platform "X" on the day of the rescission.            She stated: "This

 is NOT a rescission of the federal funding freeze.              It is simply

 a rescission of the OMB memo.            Why?   To end any confusion created

 by the court's injunction.           The President's EO[]s on federal

 funding remain in full force and effect, and will be rigorously

 implemented." The District Court also relied on evidence submitted

 by the Plaintiff-States regarding emails that the Environmental

 Protection Agency ("EPA") sent federal grant recipients one day

 "after the so-called rescission." One email stated that the agency

 is working "diligently to implement the [OMB Directive], Temporary

 Pause   of   Agency   Grant,     Loan,    and   Other   Financial   Assistance

 Programs, to align Federal spending and action with the will of

 the   American   people     as   expressed      through   President    Trump's

 priorities."      The email also explained that "[t]he agency is

 temporarily pausing all activities related to the obligation or

 disbursement of EPA Federal financial assistance at this time" and

 that "EPA is continuing to work with OMB as they review processes,

 policies, and programs, as required by the memorandum."


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            "Based on the Press Secretary's unequivocal statement

 and the continued actions of Executive agencies," the District

 Court determined that the case was not moot.               It explained that

 "the   evidence   shows     that   the    alleged   rescission   of   the   OMB

 Directive was in name-only and may have been issued simply to

 defeat the jurisdiction of the courts."             It also explained that,

 based on the record, "the policies in the OMB Directive" were

 "still in full force and effect," such that the "substantive effect

 of the directive carries on."

                                          C.

            One    week      later,       on   February      7,    2025,     the

 Plaintiff-States filed a motion to enforce the TRO as to certain

 federal funds that they contended were due to them but remained

 paused.   That same day, the Plaintiff-States also filed a motion

 for a preliminary injunction against the Agency Defendants.

            That motion described the Plaintiff-States' requested

 relief in terms that approximate the preliminary injunction that

 the District Court ultimately entered.          To support the motion, the

 Plaintiff-States introduced a large body of evidence to show that

 the Agency Defendants had implemented, within a matter of hours or

 days, categorical freezes of obligated federal funds, without

 regard to whether the relevant statute or grant award permitted

 the funding freezes.




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                  This evidence included 127 exhibits, which included more

 than       100     declarations,      as     well    as    grant      documents      and

 communications with the relevant agencies.                       The communications

 concerned        the    named    agencies'    decisions     to     freeze    funds    in

 implementation of the OMB Directive and the President's Executive

 Orders.      The declarations, most of which were submitted by public

 officials        from    the    Plaintiff-States,     described        these    states'

 inability        to    access    their   federal     funding     in    the   immediate

 aftermath of the issuance of the OMB Directive and the President's

 Executive Orders.            The declarations also discussed the harm that

 the funding freezes and attendant uncertainty were causing and

 would continue to cause the Plaintiff-States.

                  Based on this evidence, the Plaintiff-States argued that

 they had standing and that the case was not moot.                            As to the

 elements         of    the   established      test   for   securing        preliminary

 injunctive relief, see Winter v. Nat. Res. Def. Council, Inc., 555

 U.S. 7, 20 (2008), the Plaintiff-States contended that they had

 established a likelihood of success on the merits based on their

 claims that the Defendants' actions violated the APA and the

 Constitution, and exceeded the Executive's statutory authority.6

 They further contended that the remaining elements of the Winter




        6As discussed below, the Plaintiff-States subsequently
 amended their complaint to expressly include this statutory ultra
 vires claim as a separate count.


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 test favored their request for preliminary injunctive relief due

 to the impact of the funding freezes on their ability to reliably

 provide essential services to their residents, and the absence of

 harm that the relief they sought would cause the Defendants.

            The APA claims are the only ones that we address in

 resolving the stay motion before us here.           The Plaintiff-States

 contended that they were likely to succeed in showing that the

 challenged agency actions -- which their preliminary injunction

 motion      collectively       termed        the    "Federal        Funding

 Freeze"7 -- violated the APA because those actions were contrary

 to law and ultra vires, 5 U.S.C. § 706(2)(B)-(C), as well as

 arbitrary and capricious, id. § 706(2)(A).

            With respect to the agency actions being "contrary to

 law," the Plaintiff-States pointed to the Impoundment Control Act

 ("ICA"), 2 U.S.C. § 681 et seq.            They also pointed to various

 statutory schemes governing the disbursement of federal funds

 under specific programs, including the Inflation Reduction Act

 ("IRA"), Pub. L. No. 117-169, 136 Stat. 1818 (2022), and the

 Infrastructure Investment and Jobs Act ("IIJA"), Pub. L. No.

 117-58, 135 Stat. 429 (2021).       They contended that these measures




       7The term "Federal Funding Freeze" appears to be drawn from
 the White House Press Secretary's statement that the rescission of
 the OMB Directive "is NOT a rescission of the federal funding
 freeze."


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 establish    mandatory      funding     directives     based    on   allocation

 formulas and enumerated factors.

             With respect to the challenged agency actions being

 "arbitrary and capricious," the Plaintiff-States asserted that the

 "only explanation provided" for the "Funding Freeze" was its

 "inten[t] to help the Executive achieve his policy priorities."

 They also argued that the Agency Defendants had neither identified

 statutory authority for the actions making up the "Funding Freeze"

 nor "attempted to explain their utter disregard for the [resulting]

 harms."     And they argued that "freezing all funds under the IRA

 and the IIJA" was "substantively unreasonable" because doing so

 conflicted with applicable statutory directives.

             The Plaintiff-States separately made arguments about the

 existence of "final agency action."              See 5 U.S.C. § 704.        They

 contended that the OMB Directive itself constituted final agency

 action.    They also contended that the Agency Defendants' "actions

 to   implement   the     Funding     Freeze    by    unilaterally    suspending

 funding"    separately      constituted      final   agency    actions   because

 "[e]ach of th[o]se actions . . . marked 'the consummation' of

 agency      decision        making     and      determined       'rights       or

 obligations . . . from which legal consequences' flowed." (Second




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 alteration in original) (quoting Bennett v. Spear, 520 U.S. 154,

 177-78 (1997)).8

                                         D.

               Two days later, on February 9, 2025, the Defendants

 responded to the Plaintiff-States' pending motion to enforce the

 TRO.       The District Court granted the motion the next day.

               On February 10, 2025, the Defendants appealed the TRO

 (as well as the District Court's order granting its extension) and

 the District Court's order granting the motion to enforce the TRO.

 They also asked us to stay these orders pending appeal and to

 administratively stay them pending resolution of their motion for

 a stay pending appeal.9        In seeking the administrative stay, the

 Defendants argued, among other things, that the order granting the

 motion to enforce effectively required them to go to the District

 Court for "preclearance" before exercising their lawful authority

 to withhold funds "across [a] multitude of [federal] programs."

               On February 11, 2025, we denied the motion for an

 administrative      stay    without    prejudice.    We    also   noted   the




        The Plaintiff-States also argued that "the funding freezes
        8

 implemented by Agency Defendants are likewise reviewable as, at
 minimum, the 'denial' of 'relief' -- another form of agency action
 reviewable under the APA, 5 U.S.C. § 551(13), defined to include
 the denial of 'the whole or part of agency . . . grant of money,'
 id. § 555(11)."
        The Defendants simultaneously sought a stay pending appeal
        9

 of those same orders from the District Court.


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 Plaintiff-States'     position     that   the   District    Court's    order

 granting the motion to enforce the TRO "does not stop [D]efendants

 from limiting access to funds without any preclearance from the

 [D]istrict [C]ourt on the basis of the applicable authorizing

 statutes,   regulations,     and   terms"   (internal      quotation   marks

 omitted), as well as our confidence that the District Court would

 provide any clarification necessary as to that issue.              The next

 day, the District Court issued an order clarifying that: (1) the

 TRO "permits the Defendants to limit access to federal funds on

 the basis of the applicable authorizing statutes, regulations, and

 terms" (internal quotation marks omitted); (2) the order granting

 Plaintiff-States' motion to enforce "does not bar[] both the

 President and much of the Federal Government from exercising their

 own lawful authorities to withhold funding without the prior

 approval of the [D]istrict [C]ourt" (internal quotation marks

 omitted); and (3) neither order "require[s] the Defendants to seek

 'preclearance' from the Court before acting to terminate funding

 when that decision is based on actual authority in the applicable

 statutory, regulatory, or grant terms."10




        In a separate order issued the same day, the District Court
       10

 denied the Defendants' motion to stay the TRO, the order extending
 the TRO, and the order granting the Plaintiff-States' motion to
 enforce the TRO pending appeal to this Court.     On February 13,
 2025, the Defendants voluntarily dismissed their appeal.


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                                            E.

            On       February     12,     2025,    the   Defendants          filed   their

 opposition     to    the    Plaintiff-States'       motion     for      a    preliminary

 injunction.         Their primary argument was that the "Plaintiffs'

 Complaint challenges one action -- the OMB [Directive] -- which

 has now been rescinded," and they asserted that the rescission of

 the OMB Directive rendered the case moot.                They did not attempt to

 dispute the Plaintiff-States' evidence or introduce any contrary

 evidence of their own.

            As to the merits of the APA claims, the Defendants

 contended, among other things, that the Plaintiff-States had not

 identified any final agency action other than the rescinded OMB

 Directive.     They also argued that the Plaintiff-States' attempt to

 invoke the ICA was unavailing, because that statute did not apply

 here and, in any event, was not enforceable under the APA.                            They

 further   argued          that   the    Plaintiff-States'         claims      "rest     on

 a . . . flawed premise" because the OMB Directive and Executive

 Orders "expressly instruct[] agencies to implement a pause only to

 the   extent    permissible        by    law,"    and   thus      do    not    direct   a

 "categorical[]" pause "without consideration of whether [such] a

 pause is consistent with the underlying legal framework governing

 that funding."

            At       the    end   of     their    response    in    opposition,        the

 Defendants included the statement: "[p]articularly in light of the


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 extraordinary breadth of Plaintiffs' requested relief, to the

 extent the Court issues any injunctive relief, the United States

 respectfully requests that such relief be stayed pending the

 disposition of any appeal that is authorized, or at a minimum that

 such relief be administratively stayed for a period of seven days

 to allow the United States to seek an emergency, expedited stay

 from the court of appeals if an appeal is authorized."              They did

 not thereafter file a motion for such a stay with the District

 Court or at any point in the proceedings below mention or address

 the established test for securing one set forth in Nken v. Holder,

 556 U.S. 418 (2009).         See Fed. R. App. P. 8(a)(1)(A) ("A party

 must ordinarily move first in the district court for . . . a stay

 of the judgment or order of a district court pending appeal.").

                                          F.

            On February 13, 2025, the day after the Defendants filed

 their opposition, the Plaintiff-States filed an Amended Complaint.

 It alleged that the challenged "Federal Funding Freeze" violated

 the APA, the Constitution, and exceeded the Executive's statutory

 authority.    It also alleged that the "Federal Funding Freeze [was]

 effectuated    through      EOs,   the   Unleashing   [Guidance],   the   OMB

 Directive, and other agency actions implementing [those orders and

 directives] as detailed [in the Amended Complaint]."

            The Amended Complaint named eleven additional agencies

 and their heads as defendants. It also included additional factual


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 allegations regarding "major funding disruptions" that followed

 the issuance of certain Executive Orders that "direct[ed] federal

 agencies      to     review   funding    recipients     in    connection       with

 widespread policy changes" but predated the issuance of the OMB

 Directive.         Among other things, the Amended Complaint sought as

 relief   an    "injunction      preventing     the   Agency       Defendants   from

 maintaining or reinstating the Federal Funding Freeze, including

 through implementation of EOs, such as the Unleashing EO, and

 agency actions implementing them."

               The Plaintiff-States filed a reply to the Defendants'

 opposition to their motion for preliminary injunction the next

 day.    The Defendants did not request an opportunity to respond to

 the Amended Complaint, either in a sur-reply or by filing a new

 opposition. That was so even though their opposition to the motion

 for the preliminary injunction focused on the Plaintiff-States'

 initial complaint and asserted that it targeted only the OMB

 Directive itself, which had been rescinded.

               On February 21, 2025, the District Court held a hearing

 on the preliminary injunction motion.             Both parties addressed the

 Amended Complaint, but the Defendants did not seek to make any

 additional filing or suggest it would be improper for the District

 Court    to   focus     on    the   Amended    Complaint     in    resolving     the

 preliminary injunction motion.




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                                             G.

              On March 6, 2025, the District Court issued its ruling

 on the motion for the preliminary injunction.                         It granted the

 motion.

              The District Court reasoned that the OMB Directive's

 rescission did not moot the case.                 The District Court concluded

 that,      under    the     "voluntary       cessation"        doctrine,         Lowe     v.

 Gagné-Holmes, 126 F.4th 747, 756 (1st Cir. 2025), the rescission

 "was a clear effort to moot legal challenges to the federal funding

 freeze"     and    that    it    was   "unreasonable      to    conclude        that     the

 Defendants     will    not      reinstate    [the   OMB     Directive]          absent    an

 injunction."          The       District    Court    also      reasoned         that     the

 Plaintiff-States' claims were not moot because the challenged

 funding freezes continued and because of the additional claims in

 the Amended Complaint relating to "the Unleashing Guidance, the

 related      Unleashing          [Executive       Order],       and       the     general

 implementation        of    funding     freezes     based      on   the    President's

 EO[s]."11     Winding up its jurisdictional analysis, the District


       11Although the District Court referred to a singular "EO,"
 it later explained -- correctly -- that the Amended Complaint seeks
 to "enjoin the Agency Defendants from implementing 'the Federal
 Funding Freeze' 'effectuated through         EOs, the Unleashing
 [Guidance], the OMB Directive, and other agency actions.'"
 (Emphasis added) (alteration in original). It further explained
 that the Plaintiff-States' challenge is to "a pause on federal
 funding that was implemented under not only the OMB Directive, but
 also . . . the EOs incorporated therein and other agency actions



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 Court determined that the Plaintiff-States had met their burden

 with respect to their Article III standing to sue.

             The District Court then addressed the Plaintiff-States'

 contention that they were likely to succeed on the merits as to

 their APA claims.      The District Court identified the OMB Directive

 and   the   Agency     Defendants'    "swift      actions     to   execute    the

 categorical funding freeze" under the OMB Directive, Unleashing

 EO, and Unleashing Guidance as final agency actions.               It explained

 that those actions "marked the 'consummation of each agency's

 decisionmaking process'" (quoting Drs. for Am. v. Off. of Pers.

 Mgmt., No. CV 25-322, 2025 WL 452707, at *5 (D.D.C. Feb. 11,

 2025)), and that the "abrupt, categorical, and indefinite pause of

 obligated    federal     funds   is      the   direct,      appreciable      legal

 consequence" of those actions.

             The   District       Court     also     determined       that      the

 Plaintiff-States had demonstrated that they were likely to succeed

 in showing that the challenged final agency actions were contrary

 to law and arbitrary and capricious.           The District Court concluded

 that there was sufficient evidence to establish that the Agency

 Defendants' funding freezes were categorical in nature,12 and not




 such as the OMB's issuance of the Unleashing Guidance."               (Emphasis
 added).
        The District Court treated the Unleashing EO and Guidance
       12

 interchangeably at points.


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 individualized assessments of their authority to pause individual

 funding streams.      In doing so, the District Court referred to the

 evidence that the Plaintiff-States had submitted along with their

 motion for a preliminary injunction discussing their inability to

 access funds in the immediate aftermath of the issuance of the OMB

 Directive and the Unleashing EO, as well as communications received

 from Agency Defendants regarding the freezing of such funds. Based

 on the unrebutted evidence before it, the District Court observed

 that any "suggest[ion] that the challenged federal funding freezes

 were   purely   the   result   of   independent   agency   decisions"    was

 "disingenuous."

            As to the Plaintiff-States' "contrary to law" showing,

 the District Court determined that the challenged actions of the

 Agency Defendants involved categorical funding determinations that

 were likely barred by both the ICA and specific directives in

 individual statutes mandating that funds be spent in specific ways.

 As to the Plaintiff-States' "arbitrary and capricious" showing,

 the District Court determined that the challenged agency actions,

 given their breadth and immediacy, were likely not supported by

 rational reasons and that the Defendants had failed to consider

 meaningfully important aspects of the problem that they sought to

 address in taking those actions.

            Finally, the District Court concluded both that the

 Plaintiff-States      had      presented     "unrebutted    evidence"      of


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 irreparable harm and that the balance of equities, as well as the

 public interest, weighed heavily in favor of the Court granting

 preliminary relief.         Accordingly, the District Court issued a

 preliminary    injunction     against       the   Agency   Defendants,     which

 contained the elements described at the outset of this opinion.13

 The District Court also denied "Defendants' request to stay this

 Order pending appeal to the First Circuit."

                                        H.

            The   Defendants     appealed      the   District    Court's    order

 granting the preliminary injunction on March 10, 2025.                They then

 moved for a stay pending appeal, which is the sole motion that we

 address here.

                                        II.

            Because only the stay motion is before us, we address

 only the narrow question of whether the Defendants have met their

 burden to show that they are entitled to judicial intervention

 that is "not a matter of right," as a stay pending appeal is "an

 'intrusion    into   the    ordinary   processes     of    administration     and


        In response to a second motion to enforce the TRO filed by
       13

 the Plaintiff-States on February 28, 2025, in connection with
 certain Federal Emergency Management Agency ("FEMA") funds, the
 District Court in the preliminary injunction also directed
 Defendant FEMA to "file a status report on or before March 14,
 2025, informing the Court of the status of [its] compliance with
 th[e] [preliminary injunction]."     The District Court further
 denied as moot Plaintiff-States' motion to enforce the TRO because
 the issuance of the preliminary injunction "renders the TRO
 expired."


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 judicial review.'"        Nken, 556 U.S. at 427 (first quoting Virginian

 R. Co. v. United States, 272 U.S. 658, 672 (1926); and then quoting

 Va. Petroleum Jobbers Ass'n v. FPC, 259 F.2d 921, 925 (D.C. Cir.

 1958)).     To obtain the stay, the Defendants bear the burden of

 satisfying a most familiar test.            They must: (1) make a "strong

 showing that [they are] likely to succeed on the merits" in their

 appeal; (2) show that they "will be irreparably injured absent a

 stay"; (3) show that "issuance of the stay will [not] substantially

 injure    the    other    parties   interested     in   the   proceeding";      and

 (4) show that the stay would serve "the public interest."                    Id. at

 434 (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

             In evaluating whether this burden has been met, we are

 mindful that the "first two factors" -- likelihood of success and

 irreparable injury -- "are the most critical."                    Id.       We also

 emphasize       that   addressing   interlocutory       motions    on   a    "tight

 timeline"       is     "not   always     optimal    for       orderly   judicial

 decisionmaking," Labrador v. Poe, 144 S. Ct. 921, 930 (2024)

 (Kavanaugh, J., concurring in the grant of stay), and that,

 especially in those circumstances, we "rely on the parties to frame

 the issues for decision," Greenlaw v. United States, 554 U.S. 237,

 243 (2008).          We note, too, that a district court's decision to

 grant a preliminary injunction is reviewed for abuse of discretion.

 Ryan v. U.S. Immigr. & Customs Enf't, 974 F.3d 9, 18 (1st Cir.

 2020).


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               Finally, we make two clarifying observations about the

 analysis that follows.           First, we proceed on the understanding

 that the Defendants seek to stay the injunction in its entirety,

 notwithstanding their expressed choice to develop no argument in

 their stay motion that they are likely to succeed in showing that

 the District Court's analysis of the OMB Directive was mistaken.

 Second, after considering the parties' positions, we understand

 the scope of the District Court's preliminary injunction to operate

 on freezes that were implemented: (1) pursuant to the Unleashing

 EO and Guidance, the OMB Directive itself, or the other EOs

 referenced in the OMB Directive; and (2) regardless of whether the

 freezes began before the OMB Directive's issuance on January 27,

 2025.

                                          A.

               We begin with the Defendants' arguments regarding the

 first Nken factor -- which requires that they make a "strong

 showing" that they are likely to succeed on the merits in their

 appeal.       Nken, 556 U.S. at 434 (quoting Hilton, 481 U.S. at 776).

 We conclude that the Defendants have not made that showing.

                                          1.

               A central line of the Defendants' challenge is that the

 preliminary injunction appears "[i]n the guise of litigation under

 the"    APA    but   is   in   fact   "unmoored   from   any   specific   agency




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 action."14    They assert that the Plaintiff-States have "leveraged

 their challenge to" the rescinded OMB Directive into "broad-based

 relief     against   innumerable   funding   decisions    at   twenty-three

 federal agencies" and that "such broad-based APA challenges" are

 impermissible.       As support, the Defendants cite to the Supreme

 Court's decision in Norton v. Southern Utah Wilderness Alliance,

 542 U.S. 55, 64 (2004), and contend that "[i]t is black-letter law

 that cases under the APA must challenge discrete agency actions

 and may not level a 'broad programmatic attack,'" (quoting Norton,

 542 U.S. at 64).     The thrust of this line of argument thus appears

 to be that the preliminary injunction rests on a broad programmatic

 attack rather than on challenges to discrete final agency actions.

              Norton does make clear that the APA permits review of

 only discrete final agency actions and "precludes the kind of broad

 programmatic attack [the Supreme Court] rejected in Lujan v.


       14As to the merits of the APA claims themselves, the
 Defendants only argue that the District Court erred in relying on
 the Impoundment Control Act ("ICA"), 2 U.S.C. §§ 681-692.      The
 District Court, however, separately determined that the Agency
 Defendants' actions violated the APA by virtue of having been
 arbitrary and capricious -- a determination that does not in any
 part rely on the ICA.     The Defendants fail to challenge that
 determination in their stay motion, thus leaving that independent
 ground for issuing the preliminary injunction unchallenged before
 us. See Wadsworth v. Nguyen, 129 F.4th 38, 52 (1st Cir. 2025)
 (concluding that an appellate claim must fail where only one part
 of a two-part test was challenged on appeal); cf. United States v.
 Zannino, 895 F.2d 1, 17 (1st Cir. 1990) ("[I]ssues adverted to in
 a perfunctory manner, unaccompanied by some effort at developed
 argumentation, are deemed waived.").    Accordingly, we need not
 address the Defendants' contentions regarding the ICA.


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 National Wildlife Federation, 497 U.S. 871 (1990)."                       542 U.S. at

 64. Norton explains, however, that the "broad programmatic attack"

 at issue in Lujan was an attempt to seek "wholesale" "programmatic

 improvements" "by court decree" by "couch[ing]" "[the Bureau of

 Land Management's] land withdrawal review program" as an "unlawful

 agency 'action'" that should be "'set aside' under § 706(2)" of

 the APA.      Id. (emphasis omitted) (quoting Lujan, 497 U.S. at 891,

 879).   Because "the program was not [itself] an 'agency action,'"

 Norton explained, the Court in Lujan rejected the plaintiff's

 challenge to it.      Id. (quoting 5 U.S.C. § 706(2)).

               Indeed, Lujan concluded that the "program" challenged

 there   was    "simply   the      name    by   which    [the   government]       ha[d]

 occasionally     referred      to   the    continuing       (and   thus    constantly

 changing)     operations     of     the   [Bureau      of   Land   Management]      in

 reviewing       withdrawal          revocation         applications        and     the

 classifications of public lands and developing land use plans as

 required" under federal law.              497 U.S. at 890 (emphasis added).

 Lujan observed that, in styling the challenge as against the

 "program," the plaintiff there was in fact challenging a variety

 of programmatic deficiencies that it claimed were unlawful for

 varied reasons.      Id. at 891.          But the APA, Lujan explained, does

 not "permit[] a generic challenge to all aspects of" a program,

 "as though that itself constituted a final agency action."                       Id. at

 890 n.2.


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              The District Court determined here, by contrast, that

 the    Plaintiff-States'     APA   claims    do   challenge      discrete    final

 agency actions.     To be sure, those claims, like the motion for the

 preliminary injunction, describe those actions, collectively, as

 the "Federal Funding Freeze."         The District Court at points uses

 that nomenclature as well.         But the claims themselves, like the

 motion, assert that the discrete final agency actions are the

 decisions by the Agency Defendants to implement broad, categorical

 freezes on obligated funds.

              It is also clear that the District Court determined that

 the discrete challenged agency actions were "final."                 The District

 Court did so based on its assessment that these actions satisfied

 the test set forth in Bennett v. Spear, 520 U.S. 154, 177-78 (1997)

 (holding that agency actions will be deemed final where the

 challenged action (1) "mark[s] the 'consummation' of the agency's

 decisionmaking process" and (2) is an action "by which 'rights or

 obligations     have   been    determined,'         or    from     which    'legal

 consequences will flow'" (first quoting Chi. & S. Air Lines, Inc.

 v. Waterman S.S. Corp., 333 U.S. 103, 113 (1948); and then quoting

 Port    of   Bos.   Marine    Terminal      Ass'n    v.    Rederiaktiebolaget

 Transatlantic, 400 U.S. 62, 71 (1970))).

              The stay motion does not address those findings by the

 District Court or, for that matter, Lujan itself.                That is so even

 though Lujan recognized that "[i]f . . . in fact some specific


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 order or regulation[] appl[ied] some particular measure across the

 board to all individual classification terminations and withdrawal

 revocations, and . . . that order or regulation is final . . . it

 can of course be challenged under the APA."         497 U.S. at 890 n.2;

 see also Hisp. Affs. Project v. Acosta, 901 F.3d 378, 388 (D.C.

 Cir. 2018) (applying that statement in Lujan and holding that the

 plaintiffs' APA challenge to the Department of Homeland Security's

 administration of the H-2A visa program was not impermissibly

 programmatic in nature because the plaintiffs were challenging an

 across-the-board    agency   practice    in   violation   of   a   statutory

 command).    The stay motion instead makes the conclusory, implicit

 assertion, based on a passage in Norton concerning a holding in

 Lujan, that no such discrete final agency actions were identified

 to support the preliminary injunction.         And the Defendants do not

 develop any independent argument as to why the challenged agency

 actions, if discrete, do not satisfy the Bennett test for finality.

 We therefore do not see how the Defendants have met their burden

 of making a "strong showing," Nken, 556 U.S. at 434 (quoting

 Hilton, 481 U.S. at 776), that the injunction was based on a "broad

 programmatic attack" of the type Norton had in mind, 542 U.S. at

 64.

             Elsewhere in their stay motion, and more clearly in their

 reply, the Defendants offer a variation on the same theme.             They

 assert that the Plaintiff-States challenge "unidentified past


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 funding decisions across thousands of programs and an untold number

 of hypothetical future funding decisions."               They contend that such

 a challenge "runs squarely into the APA's limitation on leveling

 a    'broad    programmatic      attack'   rather      than   seeking    review    of

 discrete agency actions."

                To the extent that this argument is distinct from the

 one discussed above, we are not aware of any supporting authority

 for the proposition that the APA bars a plaintiff from challenging

 a number of discrete final agency actions all at once.                   Nor do the

 movants identify any such precedent.

                The   Defendants    do    assert   in    their    reply   that     the

 Plaintiff-States' opposition to their motion for a stay does not

 identify "specific agency actions other than the rescinded OMB

 [Directive]" and that "most of the agencies that are now subject

 to    the     injunction   are    not    mentioned      in    [Plaintiff-States']

 opposition at all."           The Defendants are the movants, however.

 Their contention about deficiencies in an opposition to their

 motion thus cannot itself constitute a strong showing that they

 are likely to succeed in challenging the preliminary injunction

 itself.       See Nken, 556 U.S. at 433-34 (burden to show that "the

 circumstances justify" a stay is on the party seeking such relief).

                In any event, the Plaintiff-States' opposition does

 identify specific agency actions.           The Plaintiff-States make clear

 that they challenge the Agency Defendants' "actions -- following


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 the     executive     orders   and     [OMB]        Directive      --    to    implement

 categorical funding freezes without regard and contrary to legal

 authority."     The Defendants' contention about the deficiencies in

 the Plaintiff-States' opposition to the stay motion also must be

 considered in light of the fact that, as we have already explained,

 the stay motion does not address the District Court's findings

 regarding the final agency actions that undergird the preliminary

 injunctive relief.

               Indeed, the record before the District Court included

 numerous notices and emails authored by Agency Defendants that

 support the finding that their funding freezes were categorical in

 nature, rather than being based on "individualized assessments of

 their    statutory     authorities         and    relevant       grant   terms."     The

 Plaintiff-States also attached numerous declarations describing

 pauses, freezes, and sudden terminations of obligated funds that

 suggested      that   these    actions           were   taken     pursuant     to   such

 categorical     decisions.           And    we     note    as     well   the    familiar

 proposition that, in reviewing the record, a court is "not required

 to exhibit a naiveté from which ordinary citizens are free." Dep't

 of Com. v. New York, 588 U.S. 752, 785 (2019) (quoting United

 States v. Stanchich, 550 F.2d 1294, 1300 (2d Cir. 1977) (Friendly,

 J.)); see also, e.g., Nat'l Council of Nonprofits v. Off. of Mgmt.

 & Budget, No. 1:25-cv-00239, 2025 WL 597959, at *7 (D.D.C. Feb.

 25,   2025)    (rejecting      the    contention          that    "countless    federal


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 agencies . . . suddenly began exercising their own discretion to

 suspend funding across the board at the exact same time" because

 it   requires       "unfathomable"     "coincidental        assumptions"      and

 "contradicts the record").

              For these reasons, we see no basis for concluding that

 the Defendants have made a strong showing as to their likelihood

 of success on appeal insofar as they aim to demonstrate that there

 is   no    final   agency   action   to     support   the    entirety    of   the

 injunction.        This ground for satisfying the first Nken factor

 therefore fails.

                                        2.

              The    Defendants   separately      argue      that   because    the

 District Court "fail[ed] to limit its injunction to the few

 statutory schemes that it concluded were nondiscretionary," it

 "enjoin[ed] broad swaths of lawful conduct."15                  The Defendants

 emphasize that "many federal funding programs and instruments

 provide the Executive with discretion to suspend or terminate

 funding that the Executive determines is inconsistent with the

 national interest."         They also observe that the District Court

 found that the OMB Directive was implemented in a way that violated


        In the stay motion, the Defendants argue that the District
       15

 Court's TRO "essentially acknowledged as much." We note, however,
 that the TRO merely questioned whether there "might be" "some
 aspects" of implementations of the OMB Directive that could be
 "legal and appropriate constitutionally for the Executive to
 take."


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 statutes that require the disbursement of funding in only "a

 handful of cases."       Because the District Court did not limit its

 injunction to the implementation of the OMB Directive to funding

 streams under those statutes, they contend, the District Court

 enjoined lawful behavior.         As the Defendants at one point put it,

 the District Court erred in "enter[ing] a sweeping injunction that

 was not tethered to the supposed flaws in the OMB [Directive], but

 instead broadly and unjustifiably prohibited actions based on

 other Executive Orders or directives."

            The     District       Court     found,        however,      that      the

 "suggest[ion] that the challenged federal funding freezes were

 purely the result of independent agency decisions rather than the

 OMB    Directive      or      the      Unleashing         Guidance . . . [was]

 disingenuous."      (Emphasis       omitted).       And    the    District       Court

 explicitly    rejected      the   Defendants'       "claim       that   the    [OMB]

 Directive and the [Executive Orders] required the agencies to pause

 funding and impose restriction[s] on obligated funds consistent

 with the law."     The District Court did so, moreover, because it

 found that the "undisputed evidence before [it] [wa]s that adding

 the 'consistent with the law' caveat was nothing more than window

 dressing on an unconstitutional directive by the Executive."

            The   District     Court       further    found    that      "[t]he    OMB

 Directive essentially ordered agencies to effectuate the blanket

 pause and then decide later which funding streams they actually


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 had lawful authority to withhold," given "the mere twenty-four

 hours" that the OMB Directive gave agencies to "discern" which

 funding streams must be paused. It found, too, that the Unleashing

 EO and Unleashing Guidance, in particular, "instruct[ed] that

 agencies immediately pause disbursements of funds under the IRA or

 IIJA and d[id] not even attempt to allow for agency discretion."

              The stay motion does not meaningfully engage with this

 aspect of the District Court's analysis.           That is so even though

 the analysis rests on the District Court's view of the record

 considered as a whole and resulted in its conclusion that the final

 agency actions at issue -- the funding freezes by each of the

 Agency Defendants -- violated the APA because they were either

 contrary to law or arbitrary and capricious or both.

              Moreover,    the     record   contains     evidence     that    the

 Plaintiff-States submitted to show that categorical freezes were

 undertaken pursuant to directives in Executive Orders referenced

 in the OMB Directive other than the Unleashing EO.               Yet, despite

 bearing a "strong showing" burden under Nken's first factor, the

 Defendants make no clear or developed argument to us that the

 District Court abused its discretion in relying on that record to

 apply the preliminary injunction to such freezes. We thus conclude

 that,   as   to   this   aspect   of   their   motion   for    the   stay,   the

 Defendants also have failed to make a strong showing of their




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 likelihood of success.         See United States v. Zannino, 895 F.2d 1,

 17 (1st Cir. 1990).

                 Accordingly, the Defendants' repeated assertions that

 the OMB Directive and Executive Orders solely directed agencies to

 pause funding "to the extent permitted by law" fail to show that

 the movants have a strong likelihood of success on appeal as to

 the merits of the Plaintiff-States' APA claims.              So, this ground

 for satisfying the first Nken factor also is without merit.16

                                        3.

                 The Defendants' final argument as to the first Nken

 factor     is    that   "the   preliminary    injunction . . . operates      to

 interfere with the President's authority to supervise federal

 agencies by providing policy direction in the exercise of each

 agency's authorities" because it "appears to demand that, in

 exercising their discretionary authority, agencies should not take

 policy direction from the President."           The contention is that this



       16The Defendants also argue that the preliminary injunction
 is "unclear" as to whether it permits agencies to make funding
 decisions based on Executive priorities when they have legal
 authority to do so. But the preliminary injunction clearly refers
 to a "categorical pause or freeze of funding," which, by its terms,
 could not apply to a pause or freeze based on an individualized
 determination under an agency's actual authority to pause such
 funds.   Consistent with this understanding, the District Court
 explained in its opinion that the preliminary injunction "does not
 prevent the [Government] from making funding decisions in
 situations under the Executive's actual authority in the
 applicable statutory, regulatory, or grant terms." (Internal
 quotation marks omitted).


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 feature of the preliminary injunction "cannot be squared with

 Article II"    of   the     Constitution,     which   grants    the    President

 "authority to exercise 'general administrative control of those

 executing the laws, throughout the Executive Branch of government,

 of which he is the head.'"       (Quoting Bldg. & Constr. Trades Dep't.,

 AFL-CIO v. Allbaugh, 295 F.3d 28, 32 (D.C. Cir. 2002)).

            To be clear, the argument is not that the President has

 Article II authority to order a funding pause in contravention of

 a statutory directive precluding such a pause.              We understand the

 argument to be only that the District Court has interfered with

 the   Agency   Defendants'       ability    to   lawfully      carry   out   the

 President's directives.17       Indeed, the stay motion argues that the

 preliminary injunction interferes with the Executive's authority

 because the "President's Executive Orders are plainly lawful."

 And the stay motion rests this argument on the view that the

 "Executive Orders . . . simply direct federal agencies to pause or

 terminate federal funding programs that may not accord with the

 President's    priorities      where   such   action   is    consistent      with

 applicable law."


       17The Defendants also note, without further argument, that
 "the President's directions to subordinates" are not "themselves
 reviewable under the APA" because the "President is not an 'agency'
 within the meaning of th[at] statute." (Quoting Franklin v.
 Massachusetts, 505 U.S. 788, 800-01 (1992)).      But the District
 Court did not review the President's actions for consistency with
 the APA. Rather, it reviewed -- and ultimately enjoined -- the
 Agency Defendants' actions under the Executive Orders.


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             As we have already noted, however, the stay motion does

 not meaningfully address the District Court's findings as to the

 Agency Defendants     having adopted       categorical funding freezes.

 Therefore, the Defendants have not demonstrated that they have a

 likelihood of success in demonstrating that the injunction reaches

 lawful conduct.      It follows that they have not made a strong

 showing that they are likely to succeed in defending what on their

 own account is a necessary premise of their Article II-based

 argument.    We therefore conclude that the Defendants cannot rely

 on their Article II-based argument to satisfy their burden with

 respect to the first Nken factor.

                                     B.

             The remaining three Nken factors require the movants to

 show that they "will be irreparably injured absent a stay," that

 "issuance of the stay will [not] substantially injure the other

 parties interested in the proceeding," and that the stay would be

 in "the public interest."       556 U.S. at 434 (quoting Hilton, 481

 U.S. at 776).    The movants have not done so.

                                     1.

             The Defendants advance two arguments as to the second

 Nken factor, which concerns their irreparable harm absent a stay.

 As we noted at the outset of our substantive analysis, this factor,

 along with the likelihood of success factor, is one of the two

 "most critical" factors under the Nken test.         Id.


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            The first contention is that the preliminary injunction

 "interferes    with   agencies'      ability     to   exercise     their       lawful

 authorities to implement the President's policy directives."                         It

 further asserts that the preliminary injunction "undermines the

 President's     unquestioned         Article II       authority         to     direct

 subordinate agencies how to exercise their own authorities, giving

 rise to an intolerable intrusion on the prerogatives of the

 Executive Branch."

            The District Court's order             granting the preliminary

 injunction does not bar all freezes in funding, however.                             It

 instead enjoins the discrete final agency actions to adopt the

 broad, categorical freezes challenged here.                 This argument thus

 suffers from the same flaw as the Article II-based argument as to

 the first Nken factor, as it rests on the same undefended premise

 about the lawfulness of the enjoined agency actions                          as that

 argument does.

            Relatedly, the Defendants assert that the injunction

 includes   "multiple    vague       instructions"     and    so    "invites         the

 [D]istrict    [C]ourt       to   engage     in    precisely       the        sort   of

 'preclearance'    regime     that    led   the   government       to    appeal      the

 [District Court's TRO], and which the [D]istrict [C]ourt purported

 to disclaim." This type of separation-of-powers harm, the argument

 goes, "itself reflects irreparable injury."




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            For starters, no "preclearance" language appears in the

 preliminary injunction itself, a fact that the Defendants appear

 to acknowledge in their reply.        The Defendants also acknowledge

 that the District Court has previously clarified that it had

 imposed no such requirement in enjoining the Agency Defendants,

 via its TRO or order granting the Plaintiff-States' motion to

 enforce, from taking specific funding actions.

            We also cannot agree that the Defendants have made the

 case that the preliminary injunction is vague as to the OMB

 Directive or funding freezes pursuant to it.         The Defendants take

 issue   with   the    District    Court's   injunction     against    their

 "'implementing' or 'giving effect to' the OMB [Directive] 'under

 a different name,'" contending that this lacks the detail necessary

 for compliance.      But Rule 65 requires injunctions to "describe in

 reasonable detail -- and not by referring to the complaint or other

 document -- the act or acts restrained or required."          Fed. R. Civ.

 P. 65(d)(1)(C) (emphasis added).         It does not "require that an

 order list the components of a term whose boundaries are understood

 by common parlance." United States v. Pro. Air Traffic Controllers

 Org. (PATCO), PATCO Local 202, 678 F.2d 1, 3 (1st Cir. 1982).           And

 the Defendants do not identify any particular action with respect

 to which they are unclear about the reach of this portion of the

 injunction.




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            Insofar as the Defendants contend that the injunction is

 vague because it enjoins them from "pausing funds as 'described'

 or 'implied by' the President's Executive Orders," we also do not

 agree.     The order granting the preliminary injunction plainly

 enjoins    the    Agency    Defendants    from     maintaining    categorical

 "funding freezes" based on the identified Executive Orders.               And,

 as we have explained, "funding freezes" are "categorical" freezes

 on obligated funds.         Given that the Defendants are in the best

 position to know the basis for any freezing decisions, we do not

 see -- nor do the Defendants explain -- why this instruction does

 not provide them with "reasonable detail" of the "acts restrained."

 Fed. R. Civ. P. 65(d)(1)(C); see also 11A Charles Alan Wright &

 Arthur R. Miller, Federal Practice and Procedure § 2955 (3d ed.

 2024) ("[T]he issuance of a nonspecific injunction or restraining

 order may be justified. . . . when the information needed to make

 the order specific in form is known only to the party to be

 enjoined." (footnotes omitted)); see also M.G. ex rel. Garcia v.

 Armijo, 117 F.4th 1230, 1249-51 (10th Cir. 2024) (explaining how

 an    injunction's         form   may     depend     on      "information[al]

 asymmetr[ies]").

            That leaves, as to the second Nken factor, only the

 argument   that    the   Defendants     face   irreparable    pecuniary   harm

 absent a stay.       Here, they argue that "[i]f the government's

 position is later vindicated at the conclusion of the litigation,


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 there   would       be   no   guarantee   that    funds   that    the    government

 obligated or disbursed pursuant to the [preliminary injunction]

 would be retrievable from the States or their subgrantees after

 the fact."

               The Defendants devote only the single sentence mentioned

 above to making this argument in their stay motion, and they

 identify no authority and offer no reasoning suggesting that this

 would be the case here.          Because the Defendants bear the burden of

 demonstrating that they "will be irreparably injured absent a

 stay," Nken, 556 U.S. at 434 (emphasis added) (quoting Hilton, 481

 U.S. at 776), we cannot see how their speculative and conclusory

 statement suffices.

               We note that the Defendants rely entirely on these same

 contentions to satisfy the fourth Nken factor -- whether a stay

 would be in the public interest.               Id.    So, they have failed to

 satisfy their burden as to that factor as well.                   That leaves to

 address       the    Defendants'     arguments        about   the       third    Nken

 factor -- whether the "issuance of the stay will substantially

 injure the other parties interested in the proceeding."                    Id.

                                           2.

               As to the third Nken factor, the Defendants first contend

 that    the    Plaintiff-States       "have      no   cognizable    interest      in

 receiving federal funds to which they are not legally entitled or

 on a timeline that is not legally compelled."                    This contention,


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 however, just repackages the arguments as to the first Nken factor

 that we rejected above.     And while the Defendants cite Citizens to

 Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 415 (1971),

 for the proposition that "reviewing courts owe agency actions a

 'presumption of regularity,'"        Overton Park did not hold that a

 court addressing a motion for a stay pending appeal of a lower

 court's injunction should presume the lawfulness of the enjoined

 conduct in assessing the harm to "the other parties interested in

 the proceeding" under the third Nken factor.              Nken, 556 U.S. at

 434 (quoting Hilton, 481 U.S. at 776).             Indeed, Overton Park

 affirmatively stated that the "presumption [of regularity] is not

 to shield [agency] action from a thorough, probing, in-depth

 review."   401 U.S. at 415.

            The Defendants separately urge us to disregard the harms

 that the Plaintiff-States' residents would suffer, because "States

 cannot invoke harms on behalf of their citizens in actions against

 the federal government."      The Defendants cite Haaland v. Brackeen,

 599 U.S. 255, 294-95 (2023), as support for that proposition.

            Brackeen did not hold, however, that residents of a state

 may not be counted among "the other parties interested in this

 proceeding" under the third Nken factor when that state obtained

 the injunction that is sought to be stayed.           It held only that

 "[a] State does not have [Article III] standing as parens patriae

 to bring an action against the Federal Government."               Id. at 295


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 (quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez,

 458 U.S. 592, 610 n.16 (1982)).

               Even   if    we    were    to   set    aside   the    harms    to    the

 Plaintiff-States' residents, the District Court still found a

 number   of     harms     that    the    Plaintiff-States      themselves         would

 irreparably suffer.         These harms included the obligation of new

 debt; the inability to pay existing debt; impediments to planning,

 hiring, and operations; and disruptions to research projects by

 state universities.         And the Defendants do not contend that these

 harms are not "substantial" or "irreparable," except by asserting

 that "[the Plaintiff-States] will receive any funds that agencies

 are   legally    obligated       to     disburse."     But   without     supporting

 explanations for how and when the Plaintiff-States could recoup

 those funds, the movants have not met their burden to show that

 the third Nken factor weighs in favor of a stay.

                                           III.

               For the foregoing reasons, we deny the motion for a stay

 pending appeal of the District Court's preliminary injunction.




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